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Case 3:16-_cv-08277-DLR Document 12 Filed 01/09/17 Page 1 of 7

   
       
   
    

    

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TO FEDBRAL AND/OR LOCAL RULES AND PRACT[CES
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UNITED sTATEs DISTRICT CoURT

DISTRICT OF ARIZONA
MICHAEL J. BROSNAHAN,
Consumer No. CV-16-08277-PCT-DLR
Plaintiff’ Notice Proof Of Service

(Honorable Douglas L. Rayes)

CALIBER HOME LOANS, INC., et al.
Debt Collector

Defendants.

 

 

 

Plaintiff Michael J. Brosnahan, Consumer appearing pro se, this is notice of proof
of service to the Defendants Caliber Home Loans, Inc., LSF9 Master Participation Trust,
and Summit Service and Realty LLC (collectively "Debt Collector" i.e. “Defendants”).
All Defendants have been served the Summons, initial Complaint and the Court’s

December 1, 2016 Order in this matter.

 

Case 3:16-cv-08277-DLR Documeht 12 Filed 01/09/17 Page 2 of 7

AO 440 (Rev. 06/12) Summons m a Civil Action

UNITED STATES DISTRICT COURT

 

 

for the
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SUMMONS IN A CIYIL ACTION

To: (De_/éndant’ s name and address)

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A lawsuit has been filed against you

Within 21 days after service of this summons on you (not counting the day you received it) -~ or 60 days if you_
' are the United States or a United St_ates agency, or an officer or employee of the United States described’ m Fed. R. Civ.
_ P. 12 (a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or amotion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,

whosenameandaddressare: M / afl/HEL :B_/@RDS&/A //{£A/J
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If you fail to respond, judgment by default will be entered against you for the relief demanded' m the complaint
You also must file your answer or motion with the court.

BRLAN D. KARTH
CLERK 0F CGURT

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Signature of Clerk or Depu!v Clerk

Case 3:16-cv-08277-DLR Document 12 Filed 01/09/17 Page 3 of 7

AO 440 (Rev. 06I12) Summcns in a Clvil Action (Pnge 2)
Civil Action No.

PROOF OF SERVICE
(I?zis section should not befiled with the court unless required by Fed. R. Civ. P. 4 (I))

Tbis summons for (name afindividual and mle, yany) Ca|iber Home Loans, Inc

 

was received by me on (date) Dec 9, 2016

D I personally served the summons on the individual at (ulace)

 

011 (da¢e) § 01'

 

` Cl I left the enmons at the individual’s residence or usual place of abo_de with (na)_ne)

';' ~ »_ _ » - . - _ _t , a person of suitable age and discretion who resides there, _

on (da¢e)“' . , and mailed a copy to the individual’,s last known address; or

n 1 served the summons On (name ofindr'vidual) Judy Best of The Corporation Company , Wh° is

designated by law to accept service of process on behalf of (name ofarganlzauan) Ca|iber Home Loans, |nc

1833 s. MoRGAN RD, oKLAHoMA cl'TY, 01< 73128 °n fd“'e) 12/12/2016 @~2:05P ;°\‘

Cl I returned the summons unexecuted because

 

g `Olher\¢rpecify):

My fees are $ for travel and $ ________for services, for a total of $ 0_00 .

1 declare under penalty of perjury that this information is true.
me w - 1441

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Server’s address

Additional information regarding attempted service, etc:

 

Case 3:16-cv-08277-DLR Documer]t 12 Filed 01/09/17 Page 4 of 7

AO 440 (Rev. 06/12) Surnmons in a Civil Action

' UNITED 'STATES_ D_ISTRICT_ CoURT

 

 

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. ‘ . Defendant(s)v -

SUMMONS IN A CIVIL ACTION

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W.ithin 21 days after service of this summons on you (not counting the day you_,received it) _ o'r 60 days if you
are the United States or a United States agency, or an officer or employee of 'the~United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) _ you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff `or plaintiffs attomey,

whose-naruc and address are: '
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If you fail to respond, judgment by default will be entered against you f r the relief demanded in the complaint.
You also must file your answer or motion with the court. -

BRIAN D. KARTH
CL.E_RKOF COURT- "

Signature of CIerk'or Depzity Clerk

Date:

 

Case 3:16-cv-08277-DLR Document 12 Filed 01/09/17 Page 5 of 7

AO 440 (Rev. 06112) Sum.mon's in a Civil Action (Paga 2) 4
Civil Action No.

PROOF OF SERVICE
(I‘his section should not befiled with the court unless required by Fed. R. Civ. P. 4 (D)

This summons for (mme off individual and utie, ifan)d
was received by me on (date) § IQ - [Q ~{,é .

l‘_] l personally served the summons on the individual at (nlaee)

 
 

 

on (date) ; or

 

Ci I left the summons atthe individual’s-reeidence or usual place of abode with (name)
' , a person of suitable age and discretion who resides there,
on (dare) , and mailed a copy to the individual’s last known address; or

 

served the summons on (name ofmdividuap B:\j 12 §§ l m C/J D ZQ ;_,z€j\_¢Z ,who is

designated by law to accept service of process on behalf of (name qforgm¢'zarlan) ‘ nn ` 03

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D I returned the summons unexecuted because ; or
D Other (qecg;j)):
My fees are $ for travel and $ l for services, for a total of $ 0,00 .

I declare under penalty of perjury that this information is true.

   

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'Date: lQ’QO» z 9 S /f;u€
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Server’ s address

`Additional information regarding attempted service, ete:

 

 

 

CaSe 3:16-cv-08277-DLR Documen`t 12 Fi|e'd 01/09/17 Page 6 of 7

AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

 

 

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SUMMONS IN A CIVIL ACTION

To: (Defendan!' s name and address).

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A lawsuit has been filed against you.

Within 21 days alter service of this summons on you (not counting the day you received it) - or 60 days if you
are the United States or 'a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) - you must serve on the pla1nt1ff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of- Civil Procedure. The answer or motion must be served on the plair/i`t:fjor plaintifi’s attorney,

whose name and address are;
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If you fail to respond, judgment by default will be entered against you for the relief demanded' m the complaint.
You also must file your answer or motion with the court. _

BRIAN D§ KARTH `
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Sigmzture of Clerk or'Deputy Clerk

Case 3:16-cv-08277-DLR Document 12 Filed 01/09/17 Page 7 of 7

AO 440 (Rev. 06112) Summon's in a Civil Aclinn (Paga 2)
Civil Action No.

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PROOF OF SERVICE
(This section should not be filed wiih the courl unless required by Fed. R. Civ. P. 4 (Q)

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Cl I personally served the summons on the individual at @Iaoe}
on (date) - ; or

 

 

D I lefg the summons atthe individual’s residence or usual place of abode_with (name) _ _ _
, a person of éuitable age and discretion who resides there,

on (dare) , and mailed a copy to the individual’s lasf known address; or

 

 

 

I served the summons on (mzme ofindlvidual) 91/@ m bnle @qp~, e(` 6 Z' » Wh° is
designated by law to accept sexviee of process on behalf of (nome qforganizacla);\ LSWz /7_)g S:& &§ ii e\,g' g/j;w’\/

fa£ité Cé[l&:&,:§ ége!; §§ on(dale) ]9~9~_) lé ;or

 

U Iz'eitl.n'nedl the summons unexecuted because ; or -
cl other (,p¢¢g;¢.~
My fees are $ for trqvel and $ for services, for. atotal of $ 090

 

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I declare under penalty of perjmy that this information is true

Date: 2 ` 33 "l g

  
   

 

 

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Additional information regarding attempted service, ete: -

 

 

 

